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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                SOUTHERN DIVISION



  UNITED STATES OF AMERICA,
               Plaintiff                                      4:23-cr-40013


               vs.                                    MEMORANDUM OPINION
                                                              AND ORDER


  REGINALD ROBINSON,JR.,
               Defendant




        Pending before the Court is Defendant's motion to dismiss the charge of

  possession of a firearm by a prohibited person in violation of 18 U.S.C. §§

  922(g)(1) and 922(g)(3).(Doc. 30). The Defendant argues the two provisions are

  unconstitutional under the Second Amendment facially and as applied to him. He

  argues § 922(g)(3) is also unconstitutional under the Due Process Clause ofthe

  Fifth Amendment facially and as applied. He argues § 922(g)(3) is vague and thus

  fails to provide adequate notice ofthe conduct that is prohibited resulting in the

  possibility of arbitrary and discriminatory enforcement. The Government has

  responded, stating its position that §§ 922(g)(1) and 922(g)(3) are constitutional

  under both the Second Amendment and the Fifth Amendment Due Process Clause.

 (Doc. 33).
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  BACKGROUND


        Defendant was apprehended for alleged shoplifting. The arresting officer

  reported an odor of marijuana coming from Defendant, who allegedly admitted to

  smoking marijuana before entering the store. The officer searched him and found

  2.6 grams of marijuana and a Ruger P94 pistol and magazine. A subsequent search

  yielded a small amount of methamphetamine. In 2015, Defendant was convicted

  of possession of methamphetamine with intent to distribute, and in 2016 of

  ingestion of a controlled substance and distribution of a fraudulent controlled

  substance.



  ANALYSIS


  1. Second Amendment Developments

        The Second Amendment provides as follows:"A well regulated Militia,

  being necessary to the security of a free State, the right ofthe people to keep and

  bear Arms, shall not be infringed." U.S. Const, amend. II.

        In recent years, the Supreme Court has addressed the parameters ofthe

  Second Amendment in District ofColumbia v. Heller, 554 U.S. 570(2008), and

  McDonald v. City ofChicago, 561 U.S. 742(2010). The Court augmented a broad

  view ofthe Second Amendment in its landmark decision mNew York State Rifle &

  Pistol Association, Inc. v. Bruen, which held that the Second Amendment protects

  an individual's "right to carry a handgun for self-defense outside the home," and as
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  a result, regulations on firearms must meet certain requirements. 597 U.S.      , 142

  S.Ct. 2111, 2122,213 L.Ed.2d 387(2022). The Court ruled further that a gun

  regulation must do more than promote an "important interest," and instead must

  also be "consistent with this Nation's historical tradition offirearm regulation." Id.

  at 2126.


        To implement this approach the Court stated that if the Second Amendment's

 "plain text" covers a person's conduct, the Constitution "presumptively protects

  it." Id. at 2127. In that situation, the Government bears the burden of proving that,

  when analyzed in light ofthe country's historical tradition, any modem regulation

  imposes a "comparable burden on the right of armed self-defense and whether that

  burden is comparably justified." Id. at 2133. In engaging in the required analysis

  there should be an assessment of whether a societal problem has persisted since the

  18th Century and gone unregulated, and if so, that is relevant evidence that the

  modem regulation is inconsistent with the Second Amendment. Id. at 2131.

  Likewise, a modern regulation is inconsistent if an earlier generation's approach

  was materially different or a proposed approach akin to the modern regulation was

  rejected. Id.

        On the other hand,"unprecedented societal concerns or dramatic

  technological changes" might demand "a more nuanced approach." Id. Reasoning

  by analogy to find relevant similarities will shape the analysis of whether a
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  historical regulation is an appropriate analogue to a modern one. Id. at 2132. As

  the Court added, although a modern regulation may not be "a dead ringer for

  historical precursors, it still may be analogous enough to pass constitutional

  muster." Id. at 2133.


  2. 18 U.S.C.§ 922(g)(1)

          The Defendant has challenged the following provision ofthe United States
  Code:


        (g)It shall be unlawful for any person-
              (1) who has been convicted in any court of, a crime punishable for a
               term exceeding one year;...
        to ship or transport in interstate or foreign commerce, or possess in or
        affecting commerce, any firearm or ammunition; ....

  18 U.S.C. § 922(g)(1).

          The Eighth Circuit has engaged in the analysis demanded by Bruen in

  addressing a ehallenge to the constitutionality of 18 U.S.C. § 922(g)(1). In United

  States V. Jackson, the defendant unsuccessfully challenged his conviction for being

  a felon in possession of a firearm. 69 F.4th 495 (8th Cir. 2023)rehearing and

  rehearing en banc denied, 2023 WL 5605618(8th Cir. 8/30/23). The court traced

  historical prohibitions on possessing firearms by certain groups, either as persons

  who were dangerous or were not law abiding. 69 F.4th at 502. In the court's view,

  both rationales would justify the prohibition on possession of a firearm by a felon

  in § 922(g)(1).
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        In support of its analysis, Jackson drew from Heller that nothing in its ruling

  should "cast douht on longstanding prohibitions on the possession offirearms by

  felons."Id. at 501 (citing Heller, 554 U.S. at 626). The court emphasized Bruen's

  reinforcement ofthe enduring prohibition offelons possessing firearms. Jackson,

  69 F.4th at 502(citing Alito, J., concurring, at 142 S.Ct. at 2157; Kavanaugh, J.,

  concurring,joined by Roberts, C.J., 142 S.Ct. at 2162; and Breyer, J., dissenting,

 joined by Sotomayor, J., and Kagan, J., 142 S.Ct. at 2189). The court also cited its

  ruling which predated Bruen that had a similar analysis. In United States v. Bena,

  the court had ruled that firearm possession could be prohibited for anyone who had

  shown disrespect for legal norms and thus was not law abiding. 664 F.3d 1180,

  1183-84(8th Cir. 2011).

        Given the Eighth Circuit's resolution ofthe question ofthe constitutionality

  of 18 U.S.C. § 922(g)(1) m Jackson, this Court's analysis is at an end. As the

  Eighth Circuit stated shortly after its decision in Jackson, because the Jackson

  court engaged in a lengthy historical analysis and held that § 922(g)(1) is

  constitutional, there is "no need" for a felony-by-felony determination of

  constitutionality as applied to a particular defendant. United States v. Cunningham,

  70 F.4th 502, 506(8th Cir. 2023). Cunningham''s directive means the extent of a

  defendant's felony record and his potential for violence do not necessitate further

  inquiry because the prohibition in § 922(g)(1) is dispositive of both the facial and
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  as-applied challenge. Courts have followed Cunningham's instruction. See

  generally United States v. Nordvold, 2023 WL 5585089, at *1 (D.S.D. 8/1/23)

  (noting constitutional challenges to § 922(g)(1) are foreclosed hy Jackson and

  Cunningham)', United States v. Andrews, 2023 WL 4974766, at *13(D. Minn.

  8/3/23); United States v. Williams, 2023 WL 5155252, at *1 (D. Minn. 8/10/23).

        Based on the foregoing analysis, the Court denies the Defendant's motion to

  dismiss the charge pursuant to 18 U.S.C. § 922(g)(1) based on the Second

  Amendment.


  3. 18 U.S.C.§ 922(g)(3)

        The Defendant has lodged both a facial and as-applied challenge to 18

  U.S.C. § 922(g)(3) which provides as follows:

        (g) It shall be unlawful for any person—
            (3) who is an unlawful user of or addicted to any controlled substance
            (as defined in section 102 ofthe Controlled Substances Act(21 U.S.C. §
             802));...
        to ship or transport in interstate commerce, or possess in or affecting
        commerce, any firearm or ammunition....

  18 U.S.C. § 922(g)(3).

        a. Constitutionality under the Second Amendment

        To address Defendant's challenge to the constitutionality of § 922(g)(3)

  facially and as applied, the Court will review decisions from the Eighth Circuit and

  other courts as well as the submissions by the Parties. (Doc. 31, 33, 36). The

  Court acknowledges both the application of Eighth Circuit precedent and the
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  requirement that the Government bear the burden of proof on the issue ofthe

  constitutionality ofthe statute in light ofthe historical background.

        As a preliminary matter, the Court has determined that for the purposes of

  the Defendant's motion, the Court will treat him as a member of"the people" to

  whom the Second Amendment applies. See Jackson,69 F.4th at 503-04 (analyzing

  application of § 922(g)(1)to felon). But see United States v. Sitladeen, 64 F.4th

  978, 983-84(8th Cir. 2023)(analyzing § 922(g)(5) and holding Second

  Amendment does not apply to person unlawfully in the United States).

        Prior to the holding in Bruen,the Eighth Circuit addressed the

  constitutionality of 18 U.S.C. § 922(g)(3)in United States v. Seay,620 F.3d 919

  (8th Cir. 2010). The defendant raised a facial attack, which the court rejected in

  reliance on Heller. Id. at 925-26 (citing Heller at 554 U.S. 570,626, 128 S.Ct. at

  2816-17). The court quoted Heller's admonition that its holding "did not cast

  doubt on such longstanding regulatory measures as prohibitions on the possession

  offirearms by felons and the mentally ill." Id. at 924(quoting Heller, 554 U.S. at

  626). The court noted the extensive authority that had upheld the constitutionality

  ofthe statute, referencing its "historical pedigree," albeit limited to the context of

  the Gun Control Act of 1968. Id.
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        Supplements to the historical pedigree discussed in Seay were well-

  summarized in the Parties' briefs,(Doc. 31, 33, 36), which the Court has consulted

  along with the discussions ofthe history ofthe Second Amendment in Heller,

  McDonald,Bruen, and many other cases. Among those included in the canvass of

  pertinent sources is United States v. Rahimi,61 F.4th 443 (5th Cir.)(holding §

  922(g)(8) unconstitutional), cert, granted, 143 S.Ct. 2688(2023). The Court also

  has reviewed the historical accounts in Jackson, as noted above, and in the

  recently-decided Sitladeen, which upheld the constitutionality of § 922(g)(5),

  prohibiting firearm possession by one not lawfully in the United States. 64 F.4th at

  985-87. See also United States v. Okello, 2023 WL 5515828, at *3-5 (D.S.D.

  8/25/23)(historical analysis pertaining to § 922(g)(3)); United States v. Lowry,

  2023 WL 3587309, at *5-6 (D.S.D. 5/5/23){^VQ-Jackson report and

  recommendation recounting historical basis for § 922(g)(1)). Secondary sources

  also have informed the Court's analysis.

        Based on this background, the Court concludes that provisions from the

  colonial era and early statehood are consistent with modern society's concern with

  the possession of weapons by those who might be impaired by alcohol or

  controlled substances. Statutes in effect during the 17-19th Centuries analogous to

  § 922(g)(3) were enacted to control the possession and use offirearms by

  intoxicated individuals. For example, in a challenge to the prohibition on medical
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  marijuana users from possessing firearms, a sister court noted the existence of

  colonial and post-Revolutionary War provisions restricting intoxicated people from

  possessing guns. Fried v. Garland, 640 F.Supp.Sd 1252, 1262-63(N.D. Fla. 2022)

 (citing a Virginia statute from 1655; New York statute from 1771). A 1746 New

  Jersey statute authorized the disarming of any soldier who is intoxicated. Acts of

  the General Assembly ofthe Province of New Jersey 303 (1752). For a discussion

  of early gun regulations see Robert H. Churchill, Gun Regulation, the Police Power

  and the Right to Keep Arms,25 Law & Hist. Rev. 139(2007). Some post-Civil

  War statutes prohibited intoxicated persons from possessing firearms. See, e.g.,

  Kansas Gen. Stat, Crimes & Punishments § 282(1868); Act ofApr. 3, 1883, ch.

  329, § 3,reprinted in 1 The Laws of Wisconsin 290(Madison, Democrat Printing

  Co. 1883). See generally, Carole Emberton, the Limits ofIncorporation: Violence,

  Gun Rights, and Gun Regulation in the Reconstruction South, 17 Stan. L.& Pol'y

  Rev. 615 (2006). See also, McDonald, 561 U.S. at 931-38(Breyer, J., dissenting)

 (reviewing gun regulations of 18th and 19th centuries); United States v. Yancey,

  621 F.3d 681,684(7th Cir. 2010)(analyzing historical sources in upholding

  challenge to 18 U.S.C. § 922(g)(3)); Okello, 2023 WL 5515828, at *4(same). The

  rationale for such legislation was aptly described as necessary because, like

  intoxicated persons,"habitual drug users...are more likely to have difficulty
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  exercising self-control, making it dangerous for them to possess deadly firearms."

  Yancey, 621 F.3d at 685.

        In addition, colonial or founding-era statutes restricting gun possession

  reflected concerns about impaired persons who may have had a mental illness.

  See, e.g. Heller, 554 U.S. at 626; McDonald, 561 U.S. at 786. Other statutes

  addressed the concern with people who could be deemed not "law-abiding" and

  possibly dangerous. See United States v. Cooper, 2023 WL 6441943, at *4(N.D.

  Iowa 9/29/23); United States v. Randall,        F.Supp.3d    ,2023 WL 3171609, at

  *3(S.D.Iowa 2/14/23); United States v. Lewis,         F.Supp.3d      ,2023 WL

  4604563, at *11 (S.D. Ala. 7/18/23). By definition, users of controlled substances

  are not law-abiding and potentially pose a danger to the community. The Court

  finds the Government has met its burden of proving that 18 U.S.C. § 922(g)(3)'s

  prohibition on the possession offirearms by users or those addicted to controlled

  substances is consistent with the historical approach to intoxicated, non-law

  abiding, and mentally ill persons, and therefore, does not violate the Second

  Amendment.


        Many courts in the Eighth Circuit have addressed constitutional challenges

  to § 922(g)(3)following Bruen and have found the provision complies with the

  Second Amendment. Moreover,they have continued to apply Seay in rejecting

  facial constitutional challenges to § 922(g)(3). See, e.g.. United States v. Pruden,


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  2023 WL 6628606, at *2(N.D. Iowa 10/11/23); United States v. Cooper, 2023 WL

  6441943, at *4-5(N.D.Iowa 9/29/23); United States v. Grubb,2023 WL 5352000,

  at *3(N.D. Iowa 8/21/23); United States v. Le,2023 WL 3016297, at *2-3 (S.D.

  Iowa 4/11/23); United States v. Walker, 2023 WL 3932224, at *4-5(D. Neb.

  6/9/23); United States v. Alston, 2023 WL 5959865, at *5 (E.D. Mo. 8/26/23)

  (report and recommendation). Courts in other jurisdictions have rejected facial

  challenges as well. See, e.g.. United States v. Seiwart, 2022 WL 4534605, at *2

  (N.D. 111. 9/28/22); United States v. Posey, 2023 WL 1869095, at *9-10(N.D.Ind.

  2/9/23). The Court recognizes that at least two courts disagree and have found that

  § 922(g)(3) violates the Second Amendment. United States v. Connelly, 2023 WL

  2806324, 812(W.D. Tex. 4/6/23); United States v. Harrison, 2023 WL 1771138, at

  *24(W.D. Okla. 2/3/23).

        Based on the foregoing, the Court concludes that Bruen did not repudiate

  Seay, nor has the Eighth Circuit. This Court must follow binding precedent. Dean

  V. Searcy, 893 F.3d 504, 511 (8th Cir. 2018); United States v. Cavanaugh,643 F.3d

  592,606(8th Cir. 2011). Thus, in reliance on Seay and based on the Court's own

  assessment ofthe historical pedigree, this Court rejects the facial challenge to 18

  U.S.C. § 922(g)(3) raised by Defendant and denies the motion to dismiss.

        b. Constitutionality under the Fifth Amendment Due Process Clause




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        An individual challenging a statute for vagueness must establish that it "(1)

  fails to provide a person of ordinary intelligence fair notice of what is prohibited,

  or(2) is so standardless that it authorizes or encourages seriously discriminatory

  enforcement." United States v. Cook,782 F.3d 983,987(8th Cir.) cert, denied, 136

  S.Ct. 262(2015). The challenger need not prove the statute is vague in all of its

  applications, but must show it is vague as applied to his or her conduct. United

  States V. Bramer,832 F.3d 908, 909(8th Cir. 2016)(citing Cook,782 F.3d at 987).

  See Johnson v. United States, 576 U.S. 591,602(2015). In the context of a pretrial

  motion, however,the evidence of an individual's conduct may not be adequately

  before the court. United States v. Stupka, 418 F.Supp.3d 402,406-07(N.D. Iowa

  2019). In such case, the court must defer ruling on the challenge until evidence is

  presented at trial.

         An exception to this approach can arise with a facial challenge if a

  fundamental right is at stake, meaning the court could grant a motion to dismiss.

  Stupka, 418 F.Supp.3d at 411-12. As the Court has held, § 922(g)(3)fits within the

  tradition of historical firearms regulations on possession offirearms by those using

  alcohol, as well as by people who are mentally ill or not law-abiding. Furthermore,

  the Eighth Circuit, along with many courts, has found various subsections of 18

  U.S.C. § 922 constitutional, as discussed above. Therefore, the Court declines to

  find that § 922(g)(3) infringes improperly on a fundamental right and denies

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  Defendant's motion to dismiss based on a facial challenge under the Due Process

  Clause.


         With respect to an as-applied challenge to the constitutionality of §

  922(g)(3), the Eighth Circuit has advised that a determination must wait until trial,

  given that the challenge ordinarily is fact-bound. United States v. Turner, 842 F.3d

  602,604(8th Cir. 2016). The court explained that the phrase "unlawful user

  of...any controlled substance" could be unconstitutionally vague "without a

  temporal nexus between the gun possession and regular drug use." Id. at 605

  (citing United States v. Turnbull, 349 F. 3d 558, 561 (8th Cir. 2003), vacated, 543

  U.S. 1099(2005), reinstated, 414 F.3d 942(8th Cir. 2005)(per curiam)). The court

  has clarified that "regular drug use" need not be on a particular day or particular

  time before the firearms possession, but that the "unlawful use has occurred

  recently enough to indicate that the individual is actively engaged in such

  conduct." United States v. Carnes, 22 F.4th 743, 748(8th Cir. 2022)(quoting

   United States v. Boslau, 632 F.3d 422,430(8th Cir. 2011)).

         These issues must be reserved for determination at trial as numerous courts

  have held in applying Turnbull and Turner. See, e.g., Alston, 2023 WL 5959865, at

  *4; Cooper, 2023 WL 6441943, at *5; Walker, 2023 WL 3932224, at *2. See also

   United States v. Hoeft, 2023 WL 2586030, at *7(D.S.D. 3/21/23)(ruling on factual

   questions regarding proof of 18 U.S.C. § 922(g)(9) offense must await trial). The

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  Court holds in abeyance Defendant's as-applied challenge under the Due Process

  Clause.


  CONCLUSION


        Defendant's motion to dismiss based on his challenge to the constitutionality

  of 18 U.S.C. § 922(g)(1) under the Second Amendment is denied. Both Eighth

  Circuit precedent and this Court's analysis ofthe historical pedigree lead to the

  conclusion that the restriction on felons' possession offirearms is consistent with

  longstanding restrictions on such possession by non-law abiding and potentially

  dangerous persons.

        Defendant's motion to dismiss based on his facial challenge to 18 U.S.C. §

  922(g)(3) under the Second Amendment is denied. Eighth Circuit precedent

  upholding this statute is consistent with Bruen. In addition, the Court's assessment

  of historical sources indicates the restriction on possession offirearms by a person

  who uses or is addicted to controlled substances is analogous to statutes long in

  effect that barred gun possession by persons who were intoxicated, mentally ill, or

  not law-abiding. Defendant's as-applied challenge to § 922(g)(3) under the Due

  Process Clause is held in abeyance awaiting a determination ofthe relevant facts.

         Accordingly,IT IS ORDERED that

   1. Defendant's motion to dismiss based on facial challenges to 18 U.S.C. §§

  922(g)(1) and 922(g)(3) is denied; and

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  2. Defendant's as-applied challenge under the Due Process Clause is held in

  abeyance pending a determination ofthe relevant facts.

        Dated this       day of November, 2023.

                                        BY THE COURT:



                                          ^trniL
                                          jwrence L. Piersol
                                        United States District Judge

  ATTEST:
  MATTHEW W. THELEN,CLERK




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